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1                                   UNITED STATES DISTRICT COURT                         NOV I 6        ° 0 01
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2                              SOUTHERN DISTRICT OF CALIFORNI!.              cu . , ,, . .                         J
                                                                             Hr( , ,.:, I.JI::, r r .,,,     ,     ,I
                                                                      So UTHlHN DIS I HIC I             Of .: "':
                                                                                                              1 ·. '
3                               (HONORABLE KAREN       s. CRAWFORD BY                                        '"' "•l•,:~/•
4

5    United States of America,                           )    Case No:      20cr0160-H
 6                                                       )
                               Plaintiff,                )
7                                                        )    Order
 8
                               v.                        )    Modifying Terms Of
                                                         )    Pre-Trial Release
 9   Ongkaruck Sripetch,                                 )
10                                                       )
                               Defendant.                )
11   ___________                                         )
12

13
           For good cause shown, and with no opposition from the United States or from

14
     Pretrial Services, it is hereby ordered that the conditions of pre-trial release for

15   Ongkaruck Sripetch be modified as follows:

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            (1) Mr. Sripetch is permitted to travel to the Eastern District of California at

17
                 the discretion of Pretrial Services, beginning no earlier than November 21,

18
                 2021, and returning no later than November 30, 2021.

19
              (2) All other terms and conditions remain in effect.

20
              SO ORDERED.
21

22

23
     Dated:     /!   UIt /Jf                              Hon/Karen S. Crawford
24                                                        United States Magistrate Judge
25

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27

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     U.S. V, SRIPETCH, 20CR-0160-H-02 - ORDER MODIFYING CONDITIONS OF BOND
